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                                      7   QUANTICO PM LP
                                      8
                                      9                         UNITED STATES DISTRICT COURT
                                     10                       SOUTHERN DISTRICT OF CALIFORNIA
                                     11
Gordon Rees Scully Mansukhani, LLP




                                     12   SHAWNTEL MURRAY, et al.,         )           CASE NO. 3:20-cv-01286-AJB-KSC
   101 W. Broadway, Suite 2000




                                                                           )
       San Diego, CA 92101




                                     13                        Plaintiffs, )           DECLARATION OF PHILIP RIZZO
                                                                           )           IN SUPPORT OF DEFENDANTS
                                     14       vs.                          )           CAMP PENDLETON & QUANTICO
                                                                                       HOUSING LLC’S AND LPC
                                     15   CAMP PENDLETON & QUANTICO ))                 PENDLETON QUANTICO PM LP’S
                                          HOUSING LLC, et al.,                         MOTION TO DISMISS PURSUANT
                                     16                                    )           TO F.R.C.P. 12(b)(1)
                                                               Defendants. )
                                     17                                    )
                                                                           )
                                     18                                    )              Date:        March 18, 2021
                                                                           )              Time:        2:00 p.m.
                                     19                                    )              Judge:       Hon. Anthony J. Battaglia
                                                                           )              Courtroom:   4A
                                     20                                    )
                                     21                                    )
                                                                           )
                                     22                                    )
                                                                           )
                                     23
                                     24         I, Philip Rizzo, declare as follows:
                                     25         1.     I am a Vice President of LMH PenQuan Property Management GP
                                     26   Inc., the general partner of LPC Pendleton Quantico PM LP. I am also a Vice
                                     27   President of Lincoln Property Company No. 2087 and 2088, which are two of the
                                     28
                                                                                    -1-
                                          Declaration of P. Rizzo in Support of Defendants’ Motion to Dismiss
                                          [F.R.C.P. 12(b)(1)]
                                                                                               USDC Case No. 3:20-cv-01286-AJB-KSC
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                              EXHIBIT B



    FILED CONDITIONALLY UNDER SEAL
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                              EXHIBIT C



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                              EXHIBIT D



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                    EXHIBIT E
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                   Navy Indoor Environmental Quality - Mold Sampling Policy in Navy Buildings

  The Navy's policy, which is consistent with guidance from the U.S. Centers for Disease Control &
  Prevention (CDC) and the Environmental Protection Agency (EPA), is to not routinely sample for mold
  when evaluating indoor environmental quality (IEQ). This policy applies to the work environment and in
  government owned housing (Family Housing and Unaccompanied Housing). 1,2

  The term “mold” is used to refer to fungi that are naturally occurring in the environment. Molds are found
  year-round in virtually every environment, indoors and outdoors, and at work and home. There is no
  practical way to eliminate all mold and mold spores from the indoor environment.

  The emphasis for dealing with mold focuses on visual inspection and determining the source of the
  moisture (e.g., water intrusion, plumbing leaks, etc.), and other contributing factors (e.g., temperature,
  humidity, ventilation, sanitation, etc.). It is important to correct mold and moisture problems as soon as
  possible through remediation and/or removal of mold contaminated materials within 24-48 hours, cleaning
  the surfaces, controlling the moisture source, and drying the area completely.

  A mold’s ability to result in health effects and symptoms will vary by the genus/species. No one knows
  how many species of mold exist, but estimates are 100,000 or more. Individual susceptibility to mold
  varies widely depending on the species and amount of mold. Therefore, mold sampling and culturing are
  not reliable in determining an individual’s health risk.

  Due to these factors, there are no federal health standards for what are “unacceptable” levels of mold in
  the indoor environment. Therefore, there is no health standard to which mold sampling results can be
  compared. Further, since most people are allergic to more than one allergen, and most homes have
  multiple detectable allergens (e.g., pet dander, pollen, rats, mice, cockroaches, dust mites, air fresheners,
  candles, lawns, plants, trees, etc.,), sampling for mold alone is also not a reliable factor for determining
  health risk.

  All mold issues, regardless of species, are treated the same: control the moisture source, and remediate
  the contamination. Mold sampling results do not change this. Nor do they provide a reliable indication of
  health risk.

  For more information about mold visit: https://www.med.navy.mil/sites/nmcphc/industrial-
  hygiene/Pages/Mold-Information-Resources.aspx


  This policy also aligns with guidance from:

        •     CDC (https://www.cdc.gov/mold/faqs.htm#test)
        •     EPA (https://www.epa.gov/mold/mold-testing-or-sampling)
        •     OSHA (https://www.osha.gov/dts/shib/shib101003.html)
        •     American Industrial Hygiene Association (https://www.aiha.org/publications-and-
              resources/TopicsofInterest/Hazards/Pages/Facts-About-Mold.aspx)
        •     Army and Air Force policy is the same3
              (https://phc.amedd.army.mil/topics/workplacehealth/ih/Pages/Indoor-Air-Quality-Mold.aspx)


  1 OPNAVINST 5100.23G Navy Safety and Occupational Health Program Manual
  2 NMCPHC Industrial Hygiene Field Operations Manual - https://www.med.navy.mil/sites/nmcphc/industrial-hygiene/industrial-hygiene-field-operations-
  manual/Pages/default.aspx)
  3 AFRL-SA-WP-SR-2014-0012 Technical Guide for Indoor Air Quality Surveys July 2014                                                 MURRAY-CPQH-LPC 000306


  LAST UPDATED APTI                                                                                                                                 Fact Sheet - May 2019
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                    EXHIBIT F
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                                DEPARTMENT OF THE NAVY
                                NAVAL FACILITIES ENGINEERING COMMAND
                                 1322 PATTERSON AVENUE, SE, SUITE 1000
                                 WASHINGTON NAVY YARD, DC 20374-5065

 MC
                                                                                          11101
                                                                                          Ser AM/036
                                                                                          26 MAY 2020


 From: Commander, Naval Facilities Engineering Command
 To:   Department of the Navy Housing Privation Partners

 Subj: NATIONAL DEFENSE AUTHORIZATION ACT FOR FISCAL YEAR 2020, SECTION
       3014(a)“(c)(1)(C)”, 3014(a)“(d)(2)”; SHARE HEALTH, ENVIRONMENTAL, AND
       SAFTEY TEST AND INSPECTION RESULTS WITH TENANT AND HOUSING
       OFFICE

 Ref:   (a) National Defense Authorization Act for Fiscal Year 2020, Public Law 116-92

 1. Section 3014 of reference (a) indicates: The housing management office is responsible for
 “maintaining all test results relating to the health, environmental, and safety condition of the
 housing unit and the results of any inspection conducted by the housing management office,
 landlord, or third-party contractor for the life of the contract relating to that housing unit.” This
 requirement is codified in Title 10 United States Code Section 2891a(c)(1)(C). Definitions
 applicable to reference (a) are addressed in Section 3001 of reference (a).

 2. To this end, Section 3014 of reference (a) further indicates: “With respect to test results relating
 to the health and safety condition of a housing unit, the landlord providing the housing unit shall –
 (A) not later than three days after receiving the test results, share the results with the tenant of the
 housing unit and submit the results to the head of the installation housing management office; and
 (B) include with any environmental hazard test results a simple guide explaining those results,
 preferably citing standards set forth by the Federal Government relating to environmental hazards.”
 This is codified in Title 10 United States Code Section 2891a(d)(2). Definitions applicable to
 reference (a) are addressed in Section 3001 of reference (a).

 3. The Department of the Navy expects all entities entered or entering into agreement(s) per the
 Military Housing Privatization Initiative authorities for Navy or Marine Corps Public/Private
 Venture (PPV) Housing project, as well as all service providers or contractors of those entities, to
 comply with this requirement on that Navy or Marine Corps PPV Housing Project.

 4. Commander Navy Installation Command (CNIC) and Marine Corps Installations Command
 (MCICOM) installation/base housing directors will serve as the “head of the installation housing
 management office.” Please submit tests and inspection results consistent with reference (a),
 relating to the health, environment, and safety condition of a housing unit to the tenant of the
 housing unit and to the appropriate CNIC or MCICOM installation/base housing director no later
 than three days after receiving the test results.

 5. Please advise if you have any concerns with or questions on the above at this time or in the
 future.
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 Subj: NATIONAL DEFENSE AUTHORIZATION ACT FOR FISCAL YEAR 2020, SECTION
       3014(a)“(c)(1)(C)”, 3014(a)“(d)(2)”; SHARE HEALTH, ENVIRONMENTAL, AND
       SAFTEY TEST AND INSPECTION RESULTS WITH TENANT AND HOUSING
       OFFICE




 6. My Point of contact for this matter is Mr. Eric Dauer, at eric.dauer1@navy.mil; 202-685-9344.
                                                                                          Digitally signed by
                                                                       FORREST.SCOTT.     FORREST.SCOTT.DAVID.12305
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                                                                       DAVID.1230579772   Date: 2020.05.27 13:19:31 -04'00'


                                              SCOTT D. FORREST
                                              By direction

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                                                 2
Case 3:20-cv-01286-AJB-KSC Document 20-3 Filed 01/19/21 PageID.787 Page 88 of 106

 Subj: NATIONAL DEFENSE AUTHORIZATION ACT FOR FISCAL YEAR 2020, SECTION
       3014(a)“(c)(1)(C)”, 3014(a)“(d)(2)”; SHARE HEALTH, ENVIRONMENTAL, AND
       SAFTEY TEST AND INSPECTION RESULTS WITH TENANT AND HOUSING
       OFFICE




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 CNIC
 MCICOM
 NAVFAC Atlantic
 NAVFAC Pacific




                                         3
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                    EXHIBIT G
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                               DEPARTMENT OF THE NAVY
                               NAVAL FACILITIES ENGINEERING COMMAND
                                1322 PATTERSON AVENUE, SE, SUITE 1000
                                WASHINGTON NAVY YARD, DC 20374-5065

 MC
                                                                                     11101
                                                                                     Ser AM/028
                                                                                     1 May 2020

 From: Commander, Naval Facilities Engineering Command
 To:   Department of the Navy Housing Privatization Partners

 Subj: NATIONAL DEFENSE AUTHORIZATION ACT FOR FISCAL YEAR 2020, SECTION
       3014(a)“(d)(9)”; GOVERNMENT ACCESS TO PRIVATIZED HOMES

 Ref:   (a) National Defense Authorization Act for Fiscal Year 2020, Public Law 116-92

 1. Section 3014 of reference (a) indicates: “A landlord providing a housing unit shall allow
 employees of the housing management office and other officers and employees of the Department
 to conduct – (A) with the permission of the tenant of the housing unit as appropriate, physical
 inspections of the housing unit; and (B) physical inspections of any common areas maintained by
 the landlord.” Per reference (a), this requirement is codified in Title 10 United States Code Section
 2891a(d)(9). Definitions applicable to reference (a) are addressed in Section 3001 of reference (a).

 2. The Department of the Navy (DoN) expects all entities entered or entering into agreement(s) per
 the Military Housing Privatization Initiative authorities for Navy or Marine Corps Public/Private
 Venture (PPV) Housing project, as well as all service providers or contractors of those entities, to
 comply with this requirement on that Navy or Marine Corps PPV Housing Project. This specific
 subsection requires the landlord of project companies to allow employees of the housing
 management office and other employees of the Department of Defense to conduct physical
 inspections of housing units (with appropriate permissions from the tenant) and landlord-maintained
 common areas.

 3. This requirement is acknowledged and included in existing Commander, Navy Installations
 Command (CNIC) and Marine Corps Installation Command (MCICOM) housing processes.
 Likewise, DoN expects PPV partners to support this requirement via their business agreements.

 4. Please advise if you have any concerns with or questions on the above at this time or in the
 future.

 5. My Point of contact for this matter is Mr. Eric Dauer, at eric.dauer1@navy.mil; 202-685-9344.
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                                                SCOTT D. FORREST
                                                By direction




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 Subj: NATIONAL DEFENSE AUTHORIZATION ACT FOR FISCAL YEAR 2020, SECTION
       3014(a)“(d)(9)”; GOVERNMENT ACCESS TO PRIVATIZED HOMES

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 Subj: NATIONAL DEFENSE AUTHORIZATION ACT FOR FISCAL YEAR 2020, SECTION
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                                 DoN Property Management
                     Minimum Standards for Tenant Displacement Guidelines
                                                                                          30 Apr 2020

   The below standards outline the Department of the Navy (DoN) guidelines as to when a tenant
   will be displaced when they reside in Military Housing Privatization Initiative (MHPI) provided
   family or unaccompanied housing.

   1. Minimum standards and/or conditions within a housing unit that will require the
   displacement of a tenant:

   Displacements shall occur when repairs to be performed in the home (including those due to a
   life, health and/or safety issue) cannot be efficiently or safely addressed while the tenant remains
   in the home. The MHPI Partner will make all displacement decisions or their designee, in
   consultation with the local installation Government Housing Office, and in accordance with
   standards set forth in applicable Federal, State, and local law.

   Conditions for when displacement may be appropriate include, but are not limited to:

         Lead based paint hazards that require extensive mitigation, stabilization or abatement
         Structural, mechanical, or electrical defects in the home that pose a threat to tenant safety
         Any environmental condition in the home that poses a reasonably defined health hazard
         Repairs which render the home not reasonably occupiable during the course of the
          repairs, such as repairs which prevent use of the kitchen or all bathrooms

   2. Minimum standards or entitlements that a displaced tenant will be allowed during the
   displacement time period:

      a. Entry during Repairs: While displaced, tenants will generally be restricted from
         entering their home until the MHPI Company determines that the necessary repairs are
         complete. The MHPI company reserves the right to limit tenant access to the home
         during periods of displacement that are consistent with applicable law, to include
         changing the locks on the home when necessary, but only after notification to the tenant.
         The MHPI Company shall give reasonable notice of the displacement as the
         circumstances and tenant safety permit, to include allowing the tenant reasonable time to
         gather and secure personal belongings before they vacate the premises. Prior to
         commencing the repairs, and as the circumstances and safety permit, the MHPI company
         shall document, in the tenant’s and Government Military Housing Official’s (MHO)
         presence to the extent practicable, by video, photograph or other means the tenant’s
         personal property in the work area. MHPI Company shall also take reasonable efforts to
         ensure the repairs do not damage the tenant’s property. Depending on the nature of the

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         repairs and safety issues associated with those repairs, the tenant may request and the
         MHPI company may allow a tenant reentry into the home while repairs are underway
         while the tenant is displaced. If reentry is authorized during a period of displacement,
         MHPI company personnel shall accompany any tenant given access to the home. The
         tenant may also request an installation Government Housing Representative to attend, but
         representation is not required. Tenants shall enter the home for the limited circumstances
         stated in their request to enter and shall not disturb any work or enter any hazard
         containment area. The tenant may not make any alterations to the home during their
         entry. MHPI company shall not dispose of any of the tenant’s personal property without
         the permission of the tenant, except as permitted by law following the displacement
         period if the tenant fails to reoccupy the property or coordinate for removal of their
         personal property in a reasonable time period.

      b. Temporary Lodging: Subject to applicable state and local law and the terms of the
         lease, when the MHPI company is required to displace under the criteria above, the
         following temporary lodging options shall be offered in descending order and as
         availability permits:

            A guest suite or unit managed by MHPI company
            Department of Defense (DOD) temporary lodging that contains adequate cooking
             facilities
            Commercial hotel that contains adequate cooking facilities
            DOD temporary lodging or a commercial hotel without adequate cooking facilities

      c. Temporary Lodging Costs: Subject to applicable state and local law and the terms of
         the lease, the MHPI company shall bear temporary lodging costs during displacement of
         the conditions listed below:

         (1) The tenant reoccupies the home in accordance with these guidelines
         (2) The Government Installation Housing Office has determined that the necessary
         repairs have been satisfactorily made to the tenant’s home and the house is safe and
         habitable; or
          (3) The tenant has been offered alternative housing either on-post or off-post in
         accordance with these guidelines.

         When necessary, the MHPI Company will offer temporary lodging that accepts animals.
         Where such lodging is not available, the MHPI Company shall reimburse the tenant for
         the reasonable costs associated with the boarding of any animals listed on the tenant’s
         lease or any addendum to it. Boarding costs for animals shall be payable to the tenant
         upon the provision of receipts to the MHPI company.


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      d. Rent and Allowances: Subject to applicable state and local law and the terms of the
         lease, rent on the leased premises will continue to accrue and there will be no adjustment
         for Basic Allowance for Housing while the costs of temporary lodging are borne by the
         MHPI Company.

         Subject to applicable state and local law and the terms of the lease, when the MHPI
         Company places a tenant in temporary lodging as a result of displacement, the tenant
         shall be entitled to the following allowances that are paid for by the MHPI company:

            In all cases where a tenant is placed in temporary lodging, tenants and their
             authorized dependents will be entitled to the U.S. General Services Administration
             (GSA) or DOD incidentals per diem rate for the location of their leased premises for
             the period of their displacement.
            In the case where a tenant is placed in DOD temporary lodging or a commercial hotel
             that contains adequate cooking facilities, tenants and their authorized dependents will
             be entitled to the GSA or DOD incidentals per diem rate for the location of their
             leased premises for the period of their displacement.
            In the case where a tenant is placed in DOD temporary lodging or a commercial hotel
             that does not contain adequate cooking facilities, tenant and their authorized
             dependents will be entitled to the GSA or DOD meals and incidentals per diem rate
             for the location of their leased premises for the period of their displacement.
            A tenant may elect to move into alternate temporary lodging outside of what is
             offered by the MHPI Company, such as staying with family or in a recreational
             vehicle. If elected, the tenant and their authorized dependents will be entitled to the
             GSA or DOD incidentals per diem rate for the location of their leased premises
             during the period of their displacement.
            Tenants will only be authorized displacement entitlements if the tenant has fully
             complied with the terms of the lease and the displacement is due to a maintenance
             issue that is not the fault of the tenant, tenant’s spouse, dependents, guests or invitees
             (collectively “Tenant Parties”).

         The MHPI Company shall notify the tenant of the conditions of their displacement, the
         temporary lodging location and the tenant via signature will acknowledge their
         allowances in writing, and those conditions. This written notification shall contain at a
         minimum:

            The general reason(s) for displacement and the initial schedule to remedy the life,
             health or safety issue
            The location of the temporary lodging and a statement that the costs of such lodging
             will be borne by the MHPI company
            The per diem entitlement, as applicable
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            That the tenant may not access the home during the period of repairs, and that the
             locks will be altered or changed, if applicable
            The process by which the tenant can request access to the home during repairs and the
             conditions of that access
            That the MHPI company will keep tenant apprised of the progress of the repairs, any
             changes to the schedule to repairs, and will notify tenant promptly when the home is
             available for re-occupancy

      e. Permanent Relocation: In the case of displacements greater than 30 days, the MHPI
         Company shall offer to relocate tenant to another habitable and comparable home
         managed by MHPI company, if one is available. If the tenant accepts the move to the
         home managed by MHPI Company, the current lease term will terminate without penalty
         and the MHPI Company shall continue to pay the costs of temporary lodging until the
         tenant is relocated to the new home, as well as the reasonable cost of moving the tenant’s
         household goods to the new home. If tenant refuses to relocate to the new home offered
         by MHPI Company within 30 days, temporary lodging and per diem entitlements will
         cease, and no household goods moving allowance will accrue.

         At any time during displacement, and in consultation with the installation Government
         Housing Office, the MHPI Company may permanently relocate a displaced tenant to a
         comparable home in the same school district based on service member rank and home
         size eligibility. The MHPI Company shall continue to pay the costs of temporary lodging
         and per diem for a period of no longer than 30 days, and no longer than the expiration of
         the tenant’s existing lease in any event, until the tenant is relocated to the new home, as
         well as the reasonable cost for moving the tenant’s household goods.

         If the MHPI Company is unable to offer a home managed by MHPI Company, tenant
         may elect to move to a home not managed by the MHPI Company within the “Housing
         Market Area” for that installation, generally defined as a location within 20 miles of the
         installation. The MHPI Company shall continue to pay the costs of temporary lodging
         and per diem for a period of no longer than 30 days, and no longer than the expiration of
         the tenant’s existing lease in any event, until the tenant is relocated to the new home, as
         well as the reasonable cost for moving the tenant’s household goods. Tenants will only
         be entitled to relocation entitlements if the tenant has fully complied with the terms of the
         lease, the relocation is due to a maintenance issue not the fault of the Tenant Parties, and
         the tenant has agreed to reside again in PPV Housing.




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